       Case 3:22-cv-00211-SDD-SDJ              Document 255        07/21/23 Page 1 of 10




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al.,

                     Plaintiffs,                     Civil Action No. 3:22-cv-00211-SDD-SDJ

               v.                                    Chief Judge Shelly D. Dick

KYLE ARDOIN, in his official capacity as             Magistrate Judge Scott D. Johnson
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., et al.,

                     Plaintiffs,                     Consolidated with
                                                     Civil Action No. 3:22-cv-00214-SDD-SDJ
               v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

     DEFENDANTS’ JOINT NOTICE OF PROPOSED PRE-HEARING SCHEDULE

       This notice is filed in response to the Court’s Order of July 17, 2023, Doc. 250, which

“reset” the remedial preliminary injunction hearing in this case for October 3-5, 2023, and sets

forth Defendants’ proposed “pre-hearing scheduling order.” 1 Defendants appreciate that the

Court’s Order contemplated this schedule being submitted “jointly” with Plaintiffs. Regrettably,

this filing is not joint as the parties could not agree on basic principles about the upcoming hearing.




1
 Defendants opposed Plaintiffs’ request to resume the remedial phase of the preliminary injunction
proceedings, see Docs. 240 & 242, and instead urged the Court to schedule a trial on the merits
before the end of 2023. See Doc. 243. This submission of a proposed schedule is made subject to,
and without waiver of, Defendants’ opposition to the resumption of remedial preliminary
injunction proceedings.
        Case 3:22-cv-00211-SDD-SDJ              Document 255         07/21/23 Page 2 of 10




        Put more bluntly, Plaintiffs are attempting a bait-and-switch. During the July 12, 2023,

status conference concerning the remedial phase of the preliminary injunction proceedings,

Defendants expressed considerable concern about the length of time it would take to prepare for a

completely restarted remedial proceeding with new proposed remedial plans. Defendants argued

that the Court should instead proceed to a trial on the merits. During the conference, Plaintiffs

represented to the Court that they would stand on the proposed remedial plan they jointly submitted

on June 22, 2022, and that this case could proceed quickly to a preliminary remedial hearing. By

making that representation, Plaintiffs set the bait. The Court granted Plaintiffs’ request to resume

the remedial proceedings rather than proceed to a trial, over Defendants’ objections, and scheduled

the hearing for October 3, 2023.

        Then came the switch. Plaintiffs have now walked back their representations and seek a

schedule that allows them nearly two months to develop and submit new remedial plans and that

further deprives Defendants of an adequate opportunity to analyze and respond to those plans. For

the reasons set forth in this Notice, the Court should hold Plaintiffs to their word, prohibit Plaintiffs

from offering new remedial plans, and adopt Defendants’ July 21, 2023, modified proposed

schedule.

        1.      On July 12, 2023, this Court held a telephone status conference, see Doc. 250, in

response to Plaintiffs’ motion requesting the Court resume the process of establishing a remedial

plan that had been stayed by the Supreme Court of the United States in June 2022. See Doc. 227.

After that conference, this Court ordered “that the preliminary injunction hearing stayed by the

United States Supreme Court, and which stay has been lifted, be and is hereby reset to October 3-

5, 2023.” See Doc. 250. The court also ordered the parties to “meet and confer and jointly submit

a proposed pre-hearing scheduling order on or before Friday July 21, 2023.” Id.



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       Case 3:22-cv-00211-SDD-SDJ             Document 255       07/21/23 Page 3 of 10




       The parties met and conferred on Thursday, July 20, 2023. In advance of that meeting,

counsel for Defendants sent a proposed schedule to counsel for Plaintiffs on July 19, 2023. See

Exhibit A at 5, 07/21/2023 Email Correspondence from Counsel for Legislative Intervenors.

Defendants designed their proposal around their understanding of the Court’s direction to the

parties, and on Plaintiffs’ representations to the Court, that the remedial phase would proceed

based on the proposed remedial plan that Plaintiffs jointly submitted on June 22, 2022, see Joint

Notice of Proposed Remedial Plan and Memorandum in Support, Doc. 225, pursuant to the Court’s

June 17, 2022, order. See Doc 206.

       Defendants’ proposal was designed to allow both Plaintiffs and Defendants to obtain and

submit additional evidence (expert and factual) concerning the proposed plan, as well as a

supplemental prehearing brief. See Ex. A at 5. The timing of Defendants’ proposal is also

reasonable—it contemplates Plaintiffs’ supplemental reports to be provided over five weeks after

their request to the Court to resume the remedial proceedings, see Doc. 240, and provides

Defendants’ experts with five weeks to respond. The subsequent deadlines for completing

depositions, submitting supplemental briefing, and exchanging exhibits and witness lists were

proposed based on the understanding that the parties would “pick up where they left off” in June

2022 and would supplement the existing record on the existing proposed plan, not wipe the slate

clean and restart the remedial phase from scratch. Counsel for Defendants made this clear to

Plaintiffs’ counsel, stating that under Defendants’ proposal, “Plaintiffs’ supplemental reports will

not be permitted to include any new remedial plans, per Plaintiffs’ counsel’s representations to the

Court during last week’s status conference.” See Ex. A at 5.

       2.      But Plaintiffs have refused to honor their representations to the Court of continuing

with their existing joint proposed remedial plan, and have instead proposed a schedule that allows



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         Case 3:22-cv-00211-SDD-SDJ            Document 255       07/21/23 Page 4 of 10




them to submit new proposed plan(s). See Ex. A at 2–4. During the parties’ July 20, 2023,

conference, counsel for Plaintiffs asserted the right to submit new plans and claimed their prior

contrary representations were expressly conditioned on this Court scheduling a hearing sooner

than October, though defense counsel recalls no such caveat being made. The parties further

discussed other aspects of each other’s proposed schedules, including but not limited to the timing

of disclosure of fact and expert lists and the amount of time Defendants would have to respond to

Plaintiffs’ expert submissions. (Plaintiffs had proposed giving Defendants just two weeks to

respond to Plaintiffs’ expert reports, which Plaintiffs had at least seven weeks—measuring from

the date Plaintiffs filed their motion on June 27, 2023—to prepare, see Ex. A at 3–4).

         In an attempt to reach a compromise, Defendants sent Plaintiffs the following modified

proposed schedule on the morning of July 21, 2023:

                         Defendants’ July 21, 2023 Modified Proposed Schedule
    Date                           Deadline
    Friday, August 4, 2023         Plaintiffs’ Supplemental Expert Reports Due
    Friday, August 11, 2023        Exchange Fact & Expert Witness Lists
    August 18, 2023
    Friday, September 8, 2023      Defendants’ Supplemental Expert Reports Due
    Tuesday, September 12, 2023 Exchange Supplemental Fact Witness Lists
    Friday, September 15, 2023     Deadline for Fact and Expert Depositions
    Tuesday, September 19, 2023
    Friday, September 22, 2023     Supplemental Memorandum in Support and Memorandum in
    Monday, September 25, 2023 Opposition of Proposed Remedial Plan Due
    Friday, September 29, 2023     Exchange Final Witness Lists and Copies of Exhibits
    Tuesday, October 3 to          Preliminary Injunction Hearing on Remedy
    Thursday, October 5, 2023

See Exhibit B at 2, 07/21/2023 Email Correspondence from Counsel for Legislative Intervenors.

         While Plaintiffs also sent a modified proposed schedule, their proposal still allows

Plaintiffs to submit new remedial plans. Importantly, however, Plaintiffs’ counsel’s clarified 2 that


2
 Plaintiffs also noted that they removed initial briefing in support of or in opposition to plans.
See Ex. A at 2.
                                                  4
       Case 3:22-cv-00211-SDD-SDJ             Document 255       07/21/23 Page 5 of 10




Plaintiffs “intend to submit no more than a single joint remedial plan.” Plaintiffs’ proposed

modified schedule is as follows:

                     Plaintiffs’ July 21, 2023 Modified Proposed Schedule
                             Event                  Plaintiffs’ Amended Dates
               Deadline for the submission of     August 11, 2023
               any proposed plans and
               supporting expert reports
               Deadline for parties to exchange August 11, 2023
               fact and expert witness lists
               Deadline for expert reports in     September 5, 2023
               response to any proposed plans
               Deadline for supplemental          September 8, 2023
               witness disclosures
               Deadline for fact and expert       September 19, 2023
               depositions
               Deadline for prehearing briefs     September 26, 2023
               Deadline to exchange copies of     September 29, 2023
               exhibits and final witness list
               Remedial hearing                   October 3 to October 5, 2023

See Ex. A at 2–3. 3

       Because the parties were unable to resolve their fundamental disagreement on Plaintiffs’

ability to submit a new remedial plan(s), they could not reach an agreement on a joint proposed

pre-hearing schedule to file with the Court. See Ex. A at 2.

       3.      The Court should adopt Defendants’ July 21, 2023, modified proposed schedule

and reject Plaintiffs’ attempt to start the remedial phase over from scratch. There is no reason to

allow Plaintiffs to submit a new proposed remedial plan 4 when they urged the Court—over


3
  For clarity, this chart omits two columns from the one presented in Plaintiffs’ email. The first
removed column was the original schedule, and the second was a column Plaintiffs added for
“Defendants’ Proposed Deadline,” because Defendants’ modified proposed schedule did not
contemplate the same events as Plaintiffs’ proposal—among other differences, Defendants’
proposal did not include deadlines “for the submission of any proposed plans and supporting expert
reports” and required only the exchange of fact witness lists on August 18, 2023, and September
12, 2023.
4
  During the parties’ meet and confer, the most Plaintiffs could offer as the reason for new plans
was that “a lot has occurred” since they submitted their joint proposed remedial plan in June 2022.
                                                 5
       Case 3:22-cv-00211-SDD-SDJ             Document 255       07/21/23 Page 6 of 10




Defendants’ objections—to resume this process and to proceed rapidly based on their existing

proposed remedial plan. Plaintiffs submitted that plan over a year ago, supported it with expert

reports and briefing, and were ready to proceed to a hearing less than 24 hours before the Supreme

Court stayed this action. See Doc. 225. Defendants responded (in the extremely compressed five

calendar days the Court permitted) with their own evidentiary submission and briefing opposing

Plaintiffs’ proposed plan.

       If Plaintiffs are held to their joint proposed remedial plan, as they represented they would

stick to on July 12, 2023, and which is most consistent with the Court’s July 17, 2023, Order

“resetting” the previous preliminary injunction hearing, then both parties and their experts can be

working now to supplement the record on that plan. In fact, Defendants have been preparing based

on Plaintiffs’ representations and the Court’s direction that this case would be proceeding on

Plaintiffs’ existing joint proposed plan. But, as counsel for Defendants made clear during the July

12, 2023, status conference, if Plaintiffs submit new plan(s), Defendants and their experts would

be required to re-do their analyses, which is a significant and time-consuming undertaking. What

is more, even under Plaintiffs’ modified proposal, Defendants would lose valuable time over the

next three weeks while they wait for Plaintiffs’ new submission on August 11, 2023, which is still

over six weeks after Plaintiffs asked this Court to resume the remedial phase proceedings and time

they could have—and likely have been—working on new submissions. Plaintiffs have offered no

explanation for their need for this length of time to submit a new plan.




But Plaintiffs did not specify what had “occurred” that required them to scrap the remedial plan
they asked the Court to impose on Louisiana just last year. To the extent Plaintiffs seek to offer
analyses of 2022 election results, those analyses can be conducted of Plaintiffs’ prior joint
proposed plan, and cannot serve as the basis for a new plan.
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        Case 3:22-cv-00211-SDD-SDJ             Document 255        07/21/23 Page 7 of 10




        While Plaintiffs’ modified proposal allowed Defendants more time to respond than the two

weeks in their initial proposal, Plaintiffs would still only provide Defendants and their experts just

25 calendar days (including Labor Day weekend) 5 to re-do those analyses and responses at the

same time that Defendants, and potentially several of the same experts, will be working to meet

the Court’s deadlines in Nairne, et al. v. Ardoin. See Case No. 3:22-cv-00178, Doc. 100 (setting

August 21, 2023 as the deadline for “Defendant/Intervenors’ Sur-Rebuttal Expert Reports,”

September 1, 2023 as the deadline for “Completing Fact Discovery and Related Motions,”

September 29, 2023 as the deadline for “Completing Expert Discovery,” etc.). There is simply no

need to allow Plaintiffs to start over, or to deprive Defendants of a meaningful opportunity to

respond and fully develop the record on a proposed plan, as Plaintiffs’ proposed schedule demands.

        4.      Defendants’ proposal is designed to allow the parties to focus their time and

resources on supplementing the record on Plaintiffs’ joint proposed plan. To be clear, Defendants’

supplementation may include new fact and expert witnesses who were not offered during the very

expedited remedial phase proceedings that had been scheduled in 2022 before the Supreme Court

stay, which only afforded Defendants five days to analyze and respond to Plaintiffs’ proposed

remedial plan and prevented Defendants from submitting an appropriate expert and factual record.

But Defendants’ proposal grants Plaintiffs that same latitude. This type of supplementation would

focus on Plaintiffs’ joint proposed plan, and will allow the Court to evaluate a proposed

preliminary remedy in this case based on an appropriately robust record given the enormity of the

relief Plaintiffs seek.




5
 Defendants strongly object to the introduction of any new remedial plans by Plaintiffs at this stay.
Without waiving that objection, if the Court is inclined to allow any new plans, then Defendants
request a schedule that allows Defendants and their experts at least 28 days to analyze and respond
to those plans.
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       Case 3:22-cv-00211-SDD-SDJ           Document 255         07/21/23 Page 8 of 10




       Defendants respectfully ask the Court to reject Plaintiffs’ proposed schedule and to adopt

the July 21, 2023, modified proposed schedule set forth by Defendants above. A proposed order

is enclosed herewith.

                                                   Respectfully submitted,

/s/ Michael W. Mengis                              /s/ Erika Dackin Prouty
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                                               8
      Case 3:22-cv-00211-SDD-SDJ          Document 255        07/21/23 Page 9 of 10




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                                            9
      Case 3:22-cv-00211-SDD-SDJ             Document 255       07/21/23 Page 10 of 10




                                CERTIFICATE OF SERVICE

       I certify that on July 21, 2023, this document was filed electronically on the Court’s

electronic case filing system. Notice of the filing will be served on all counsel of record through

the Court’s system. Copies of the filing are available on the Court’s system.

                                                  /s/ Erika Dackin Prouty
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                                                  Counsel for Legislative Intervenors, Clay
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                                                  Representatives, and of Patrick Page Cortez,
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                                                  Louisiana Senate




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